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                  Exhibit “B”
    Progressive Discipline Forms,
     Memorandums, Performance
   Improvement Plan and Notices of
         Disciplinary Action
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